Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-14 Filed 03/31/17 Page 1 of 11

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ATTDRNEYS AT LAW

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IN THE SECOND JUD|C|AL DISTRlC'f COURT!OF THE STATE OF NEVADA
lN AND FOR THE COUNTY OF WASHOE

RO|L ENERGY. LLC., a Nevada Limited
Liabi|ity Company, by and through the

Derivative claim of ALLAN HOLMS, a Case No. CV12-01522
Married man and a Washington resident and
ALLAN HOLMS, individual|y, a married Depf. ND. 10

Man and a Washington Resident,
P|aintiffs

JOSEPH (“JAY") ED¥NGTON and JANE
DOE ED|NGTON, husband and wife and
Residenfs of Spokane County, Washington;
TOLLLRESERVE CONSORT|UM INC.,

ET A

 

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OUT OF STATE COMM|SS|ON

 

 

 

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IN THE sUPERl,oR cOURT or THE sTATE cr wAerNGToN ~ ~ -
_IN AND FOR sPOKANE coUNTY

ROIL ENERGY, LLC., a Nevada Limited
Liabiiity Company, by and through the derivative
claim cf ALLAN HOLMS, a married man and a
Washington resident; and ALLAN HOLMS,
individually, a married man and a Washington
R.esident,

Piaintiffs,
vs.

JOSEPH ("JAY") EDINGTON and JANE
DOE EDINGTON, husband and Wifc and
residents ofSpokane County, Washiugton;
TOLL RESERVE CONSORTIUM INC., a
Nevada Corpcration recently renamed as HOLMS
ENERGY DEVELOPMENT CORPORATION,
aNevada Corporation; VAL AND MARI
HOLMS, husband and wife, and the marital
community comprised thereof , residents Of the
State cf Montana; HOLMS ENERGY, LLC, a
Nevada Li.mited Liability Company, and
BAKKEN RESOURCES, INC., a Nevada
Corporation,

Defendants.

 

Case No. 12-2-01039-5

SUBPOENA IN A CIVIL CASE

TO: NE`.VADA AGENCY AND TRANSFER COMPANY

50 West Liberty Stteet, Suite 880
Reno, Nevada 89501

SUBPOENA IN A CIVIL CASE - ?agc l 01'8

Rssn 8c Gi.=_‘sa. P.S.
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(509) 8338341

. Case 3:17-cv-00167-I\/||\/|D-VPC DocumentZS-14 Filed 03/31/17 Page40f11

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IF YOU DO NOT EXERCISE THE ALTERNATIVE EXPLAINED AT PAGE 6 OF THIS
SUBPOENA THEN,

>14 YOU ARE COMMANDED to produce and permit inspection and copying of the
documents listed on Exhibit “A” attached hereto or tangible things at the place, date, and time
specified below.

 

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71 Washington Sn‘eet
.Reno, Nevada 89503

 

 

 

 

IF YOU DO NOT EXERCISE THE ALTERNA’I`IVE EXPLAINED AT PAGE 6 OF THIS
SUBPOENA THEN,

514 YOU ARE COMMANDED to appear at the place, date, and time specified below to
testify at the taking of a deposition in the above case, before a Notary Public!Court Reporter or
other official authorized by law to administer oaths.

Any organized on not a party to this suit that is subpoenaed Jfor the taking of a deposition
shall designate one or more ofticers, directors, or managing agents, or other persons who consent
to testify on its behalf, and may set forth, for each person designated the matters on which the
person will testify. CR 30(0)(6).

 

'PLACE OF DEPOSITION{ DATE AND T]ME:

Robison, Belaustegui, Sharp & Low

71Washjngt°n S“eet 25 2012 11:00 . _
Reno,Nevada 89503 lime , a pm

 

 

 

 

 

 

issuING oFFICEa sIGNATuRE AND Tl'rLs: DATE:
_/ `

Q/ d 17 L/ K/L/ / , Anomey for Plainriff. luna 5, 2012
rssUINo 01=11'101:11'8 NAME, Aoo,aéss, AND PHoNE NUMBER: ATFORNEY FOR:
D. Roger Reed
Robin Lynn Haynes ‘ -
need & Giesa, P.s. Plamt'ff
222Nonhwa11 stress suits 410 WSBA #662
Spf>kane, WA 99201 WSBA # 3 31 16
509-838-8341

 

 

 

_ REED as Grr-:sA. P.S.
SUBPOBNA IN A CW‘IL CASE Page 2 ot`S ATTORNEYS n LAW

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FA¢:BIM\LE: team 838-6341
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. Case 3:17-cv-00167-I\/||\/|D-VPC DocumentZS-14 Filed 03/31/17 Page 5 of 11

 

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PROOF OF SERVICE
2 NAME 011 PansoN ssnvsn; MANNER 011 salmon
3 ’PLACE oF seamen DATE or ssavlcs;

 

 

5 TITLE OF PERSON SER.VEDZ (IF SER.VICE IS UPON BUSlNESS OR ORGANIZAT[ON)

 

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w DECLARATION oF sEnvER

 

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_I declare under penalty of perjury under the laws of the State of Washington that the
12 foregoing information contained in the Proof of Service is true and correct

 

 

 

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13 PRINTED NAME AND ADDR.ESS OF SERVER: PHONE:
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Pursuant to CR 45, a recitation of Sectlons (c) and (d)
follows:
(c) Protectlon of Pcrsons Subject to Subpocnas.

{l) A party or an anomcy responsible for the
issuance and service of a subpoena shall take
reasonable steps to avoid imposing undue burden or
expense on c person subject to that subpoena ‘l‘he
court shall enforce this duty and impose upon the
party or attorney in breach of this duty an appropriate
sanction, which may include,- but is not limited tc,
lost earnings and a reasonable attcmey's fec.

(2)(A) A person commanded to produce and
permit inspection and copying of designated books,
papers, documents or tangible things, cr inspection of
premises need not appear in person at the place cf
production or inspection unless commanded to
appear for deposition, hearing or trial.

(B) Subject to subsection (ci)(Z) of this rule, a
person commanded to produce and permit inspection
and copying may, within 14 days after service cf the
subpoena or before the time specified for compliance
if such time is loss than 14 days after service, serve
upon the party or anomcy designated in the subpoena
written objection to inspection or copying cf any or

.al| of the designated materials or of the premises lt`

objection is maclc, thc party serving the subpoena
shall not be entitled to inspect and copy the materials
or inspect the premises except pursuant to an order of
the court by which the subpoena was issued. lf
objection has been madc, the party serving the
subpoena may, upon notice to the person commanded
to produce and all other partics, move ar any time for
an order to compel the production. Such and order to
compel production shall protect any person who is
note party or an officer cfc party from significant
expense resulting from the inspection and copying
commanded

(B)LA) On timely motion. the court by which a
subpoena was issued shall quash or modify the
subpoena if iL:

(l) fails to allow reasonable time for
compliance;

(ii) fails to comply with RCW 5.56.010 cr
subsection (c){Z) of this rule;

(iii) requires disclosure of privileged cr
other protected matter and no exception or waiver
applies; or

(iv) subjects a person to undue burden,
provided that the court may condition denial of the
motion upon a requirement that the subpoenaing

SUBPOENA I`N A Cl'v']l.. CASE - Pugc 4 ofB

Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-14 Filed 03/31/17 Page 6 ot 11

party advance the reasonable cost of producing the
bcoks, papers, documents, or tangible things

(B) lt`e subpoena

(i) requires disclosure of a trade secret or
other confidential rcsearch, r.ievelopmentl or
commercial information, or

(ii) requires disclosure ofan unretained
cxpcrt’s opinion or information not describing
specific events cr occurrences in dispute and
resulting from the cxpen's study made not at the
request of any pcrly, the court may, to protects
person subject to or affected by the subpoena quash
or modify the subpoena or, if the party in whose
behalf the subpoena is issued shows a substantial
need for the testimony or material that cannot bc
otherwise met without undue hardship and assures
that the person to whom the subpoena is addressed
will be reasonably cornpensatcr:ll the court may order
appearance or production only upon specified
conditions

(d} Duties in Respondlng to Subpoonc

(l) A person respondinth a subpoena to
produce documents shall produce them as they are
kept in the usual course of business or shall organize
and label them to correspond with the categories in
the demand

{2)(A) When information subject to a subpoena
is withheld on a claim that it is privileged or subject
to protection ss trial preparation materials the claim
shall be made expressly and shall be supported by a
description cf the nature ol` the documents,
communications or things not produced that is
sufficient to enable the demanding party to contest
the claim.

(B) if information produced in response to a
subpoena is subject to a claim ot` privilege or of
protection as trial-preparation material, the person
making the claim may notify any party that received
thc information of the claim and the basis for it. Ai"tcr
being notified a party must promptly return,
scquestcr, or destroy the specified information and
any copies lt has; must not use or disclose the
information until the claim is resolved; must take
reasonable steps to retrieve the information ii` the
party disclosed it before being notified; and may
promptly present the information in camera to the
court for a determination of the ctaim. The person
responding to the subpoena must preserve the
information until the claim is resolved

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EXHIBIT "A"

THE RECORDS CUS'I`ODIAN OF NEVADA AGENC'YAND TRANSFER
COMPANY IS ALSO COMMANDED TO PRODUCE at the law offices of Robison,
Belaustegui, Sharp dr Low, 71 Washington Street, 89503 on June 25, 20]2, by 1:00 p.m. the
following documents

All records or “doc_u_ments,” as defined in Exhibit “1” attached hereto, which are in
your custody, possession or control that pertain to or concern Bakken Resources, [nc., a
Nevada Corporation, ffids Multisys Language Solutions, Inc., (hcreafter referenced at
“BRI”} for the period November 1, 2008 through the present, including but not limited to:

1. Transaction reports of issuances and cancellations of BRI stock since
November 1, 2008 through the present;

2. Shareholders list of BR.I shareholders with names and addresses datcs, certificate
numbers, restrictions, amount of shares and total shares held since November I, 2008 through
the present;

3. Control auditor Restricted sheets showing original issuances and changes to
outstanding shares with corporate actions (reverse splits) or cancellations back to treasury, since
Novernber l, 2008 through the present;

4. Any communicationsl regarding BRI, that occurred since November l, 2008
through the present, that pertain to'. Joseph Edington, ianeile L. Edington, Sherry Edington,

J erred Edington, Val M. Holrns, Mari P. I-Ioitns, Christopher Wctzel, Rayrnond Kuh, Manny
XX)D{XX, Manny Graiwer, Wesiey J. Paul, Roil Energy, LLC, aNevada Limited Liability
Connpany, Holms Energy, LLC, Toii Reserve Consortium, Inc., a Nevada Corporation,

Southwest Consuiting Servioes, Inc. andr'or the U.S. Securities and Exchange Corrunission

relating to any of the above or the Financiai Regulntory Authority relating to any of the above;

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5. Shareholder account ledgers for loseph Edington, Janclle L. Edington, Shel'ry
Edington, .Terod Edington, Val M. Holms, Mari P. Holrns, Ch:istopher Wetzel, Raymond Kuh,
Manny XXXXXX, Manny Graiwer, Wesley J. Paul, Roil Energy, LLC, aNevada Limited
liability Company , Holms Energy, LLC, Toll Reserve Consortium, Inc., a Nevada Corporation,
Southwest Consulting Services, Inc. since November l, 2008 through the prcsent;

6. Ail stock/share registers andfor any other transactional documents relating to the
issuanee, transfer, purchase and/or sale of any and all stock/share certificates for Bal-cken
Resouroes, Inc., a Nevada borporanon, f/k/a Multisys Language Solutions, Inc., for the period
November l, 2008 through the present.; and,

7. Contracls and agreements, to gather with related correspondence, between Empire
Transfer, Inc. and Bakken Resources, lnc., a Nevada Corporation, ancb'or Multisys Language
Soluticns, lnc., together with all accounting records, journal entries, balance sheets, documenting
the monies owed to the Empire Stoclc Transfer for services rendered to either or both Bakl<en
Resources, Inc., a Nevada Corporation, and/or Multisys Language Solutions, lnc.

The production of the aforementioned documents Should be in electronic form.

Alternatively, it is not necessary for you to appear for the deposition as scheduled,
provided that you tender complete and legible copies of the above~requested documents, along
with an executed copy of the Declaration of Authenticity (Exhibit "B“), to the offices ofReed &
Giesa, P.S., 222 North Wall Street, Suite 410, Spokane, Washington 99201, by no later than

Juoe 25, 2012 at 1:00 p.m.

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EXHIBIT “B"
DECLARATION OF AUTHENTICITY

lt , declare'.

That I am the records custodian for Nevada Agency and Transfer Company, and the
dccut'nents produced herewith are true and correct copies thereof

This Declaration is given in cdnnection with a case o`f proceedings entitled Roi! Energy,
LLC, e£. ai., v.r. Jo.s'eph Edz‘ngton, et. al., Spokane County Superior Coutt Cause NO. 12-2~0103 9-
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I hereby certify under penalty of perjury under the laws of the State of Washington that
the foregoing is true and correct to the best of my information and knowledge

Executcd on this day of 201 2, at M lCilY],

[state].

 

 

Nevada Agency and Transfer Company

 

By:

SUBPOENA [N A ClVll., CASE - Page 7 of 3 REE:D 81 GIESA. P.S.
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"Document(s)" as used herein, without limitation and in the broadest sense possible, refers to
the original and any identical or non-identical copy of any original, of any physical source of
infonnation, regardless of its manner ofrepresentation, consisting of all "writings" and "photographs"
as delined in Eyidence Rule 1001, and which includes any manner whatsoever of recorded or
electronically stored or generated material, data, information, images, or sounds, andr’or any other
form of information, including but not limited to: computer diskettes (hard or floppy), CD-ROM
disks, Bernoulli disks and their equivalents, magnetic tapes of all kinds, and computer chips (including
but not limited to EPROM, PROM, RAM, and ROM), data and information stored on computer hard
dI'iVCS, COmputer ptintouts, facsimiles (or faxes) (whcther in hard copy or electronic form), teletypes,
telecopies, telegrams, cables, E-mail or other records of communications by or using computers or
other electronic equipment micronlms, transcripts photographs, slides, §lms, movies, video
recordingsl tape recordingsl and graphics or audio or visual or audio visual records of any kind, books,
magazines, parnphlets, brochures, bulletins, publications, printed matter, letters, notes, notations ol` '
any sort of conversations telephone calls, meetings, or other communications, interoffice and
intraoiiice commwncations, diaries, calendars, appointment books, time sheets, logs, schedules
memoranda reports, working papers, charts, diagrams, studies, scientific reports, analyses, manuals,
drawings, drafis, tabulations, indices, minutes, contracts, agreements studies, statistics, files, price
catalogs, orders, invoices, statements receipts, checks, warranties, guaranties surnrnaries, work
sheets, meeting and other minutes, notices, prospectuses, agendas, and all notations on the foregoing
and all copies thereon

“Document(s)" also means, without limitation, the tile and folder tabs associated with
each original and/or cOpy, and all correspondence or equivalent transmitting such document
and/or explaining and/or commenting on the contents thereof, and all attachments, enclosures,
and working papers

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Case 3:17-cv-00167-l\/|l\/|D-VPC Document 23-14 Filed 03/31/17 Page 11 of 11

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SECOND JUD|C|AL DlSTFlICT COURT
COUNTY OF WASHOE, STATE OF NEVADA

' AFFlRMATloN
Pursuant to NRS 2395.030
The undersigned does hereby affirm that the preceding document

Subpoena Duces Tecum

 

 

(Title of Document]

filed in case numbor:

 

 

/ Document does not contain the social security number of any person
-g\q.

Document contains the social security number of a person as required by:

 

 

 

 

 

D A specific State or federal law. to wit

 

(State specific state cr federal law)
_or.
n:| For the administration of a public program
.or-
[E For an application for a federal cr state grant
.0,-.

|:I Confidential Fami|y Court |nformation Sheet
(NRS 125.130, NRS 125.230 and NRS 1255.055)

Date: June 7, 2012.

 

Nt< c. c oae, esQ.

 

(F’rint Name)
PLAINTIFF

 

(Attorney for)

Atlirmaticn
Ravised December 15, 2006

 

